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                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII

RODNEY JOSEPH, JR.,           )         CIV. NO. 13-00178 SOM/KSC
                              )         CR. NO. 06-00080 SOM
          Plaintiff,          )
                              )         ORDER REGARDING DEADLINES
     vs.                      )         RELATING TO RODNEY JOSEPH'S §
                              )         2255 MOTION
UNITED STATES OF AMERICA,     )
                              )
          Defendant.          )
_____________________________ )

                 ORDER REGARDING DEADLINES RELATING
                  TO RODNEY JOSEPH'S § 2255 MOTION

          There is considerable confusion as to deadlines, given

the pendency of the new trial motions in the criminal case and of

Rodney Joseph's § 2255 motion and related filings.          In the

present order, this court attempts to clarify the schedule.

          The court begins by emphasizing that the court months

ago assured Joseph that the court would not rule on the merits of

his § 2255 motion until after ruling on the new trial motions.

In light of this position, the court concluded that it was not

necessary to grant Joseph's earlier request that his § 2255

motion be held in abeyance.

          Even after the court so stated, however, Joseph filed

Combined Motions to Vacate Judgment, as well as Combined

Objections and a Motion To Stay.      To the extent Joseph's Motion

To Stay reiterates Joseph's request that the new trial motions be

decided before the § 2255 motion is ruled upon, the court again

assures Joseph that the court will handle the new trial motions
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first.    For that reason, to the extent Joseph's most recent

Motion To Stay seeks that relief, that motion is denied on the

sole ground that it is unnecessary.

            Similarly, to the extent the Combined Motions and

Combined Objections overlap the arguments in the § 2255 motion,

the court will consider those overlapping matters when it

considers the § 2255 motion.

            The problem for the court is that the Combined Motions

and Combined Objections appear to encompass issues separate from

those raised in the § 2255 motion.      In those documents, Joseph

appears to be asking the court to take action now.

            As required by the court, the Government has filed its

responses to the Combined Motions, the Combined Objections, and

the § 2255 motion.    If, with respect to any matter raised in the

Combined Motions or Combined Objections, Joseph is seeking a

ruling by this court in advance of the court's consideration of

his § 2255 motion, then, no later than September 25, 2013,

Joseph should identify those specific matters in writing and

should reply to the Government's arguments relating to those

issues.   To avoid confusion, the court will refer to such issues

as "Prompt Decision Issues."      If the court does not receive a

memorandum from Joseph by September 25 identifying and addressing

Prompt Decision Issues, this court will assume that all matters

raised in the Combined Motions and Combined Objections are


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intended by Joseph to be addressed when the court rules on his

§ 2255 motion.

          Any matters not identified as Prompt Decision Issues

may be addressed by Joseph in a reply memorandum limited to

matters raised by the Governments in briefs the Government filed

on August 19, 2013.    Joseph's reply memorandum (other than any

memorandum, due by September 25, discussing Prompt Decision

Issues) must be filed no later than January 15, 2014.           The court

sets that reply memorandum deadline in light of the extended

deadline of November 29, 2013, given to Ethan Motta for his reply

memorandum in support of his new trial motions, in which Joseph

has joined.   The court expects to rule on the new trial motions

in December 2013, so that Joseph will know in advance of his own

reply memorandum deadline whether a reply memorandum relating to

his § 2255 motion is even necessary.

          Given the Government's filings of August 19, 2013, this

order gives Joseph more than sufficient time to prepare any reply

memorandum in support of his § 2255 motion.        Joseph's reply

memorandum, due January 15, 2014, may not exceed 5000 words,

including headings and footnotes, but not including declarations,

affidavits, exhibits, the case caption, and any table of contents

or of authorities.

          Because of the many months between now and the

resolution of Joseph's § 2255 motion, it may be that new


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developments will cause the Government to conclude that a

supplemental opposition by the Government is appropriate.            In

that event, the Government should notify the court in writing as

soon as that becomes apparent.      If the court allows a

supplemental opposition, the court will revisit the January 15

deadline and the word limit.

          IT IS SO ORDERED.

          DATED: Honolulu, Hawaii, August 20, 2013.




                                   /s/ Susan Oki Mollway
                                  Susan Oki Mollway
                                  Chief United States District Judge




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